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                              UNITED STATES DISTRICT COURT

                                  DISTRICT OF OREGON

                                    MEDFORD DIVISION


BLUE MOUNTAINS BIODIVERSITY                       Case No.
PROJECT,
an Oregon nonprofit corporation,
                Plaintiff,                        COMPLAINT FOR VACATUR OF
                                                  ILLEGAL AGENCY DECISION,
       v.                                         INJUNCTIVE, AND DECLARATORY
                                                  RELIEF
HOMER WILKES, Under Secretary for
Natural Resources and Environment, United
States Department of Agriculture, in his
official capacity; UNITED STATES
DEPARTMENT OF AGRICULTURE, an
agency of the United States; GLENN
CASAMASSA, Regional Forester for
Region 6, in his official capacity; SHANE
JEFFRIES, Forest Supervisor, Ochoco
National Forest, in his official capacity;
MICHAEL RAMSEY, District Ranger for
the Lakeview Ranger District, Fremont
Winema National Forest, in his official
capacity; UNITED STATES FOREST
SERVICE, an agency of the United States
Department of Agriculture,
                Defendants.
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                                       INTRODUCTION

       1.       Plaintiff Blue Mountains Biodiversity Project (“BMBP”) challenges the

Defendant United States Forest Service’s (“Forest Service” or “the Service”) Decision

Memorandum (“Decision Memo”), which approved the South Warner Habitat Restoration

Project (“South Warner Project” or “the Project”) on the Fremont-Winema National Forest

(“Fremont-Winema” or “FWNF”). Defendant District Ranger Michael Ramsey (“Ramsey”)

signed the Decision Memo on December 27, 2021. Unless named specifically, Defendants

Wilkes, Casamassa, Ramsey, the United States Department of Agriculture, and the United States

Forest Service are collectively referred to herein as “Defendants,” “Forest Service,” or “the

Service.”

       2.       BMBP also challenges the Decision Notice and Finding of No Significant Impact

(“DN/FONSI”) for the 2021 Eastside Screens Amendment: Forest Management Direction for

Large Diameter Trees in Eastern Oregon and Southeastern Washington (“Eastside Screens

Amendment”). The illegal DN/FONSI for the 2021 Eastside Screens Amendment amended the

land and resources management plan (“LRMP” or “forest plan”) for the FWNF, along with five

other national forest LRMPs in eastern Oregon and southeastern Washington, and was signed by

then-Under Secretary for Natural Resources and Environment James Hubbard on January 12,

2021, in contravention of the pre-decisional administrative review process required by 36 C.F.R.
§ 219, Subpart B (2012). See 36 C.F.R. § 219.51(b).

       3.       The South Warner Project involves commercial and non-commercial logging on

the FWNF, including the logging of large mature trees that are protected from logging via the

FWNF Forest Plan, as amended by the 1995 Revised Continuation of Interim Management

Direction Establishing Riparian, Ecosystem and Wildlife Standards for Timber Sales (“Eastside

Screens” or “Screens”). The South Warner Decision Memo relies upon the illegal 2021

amendment to the provisions of the Eastside Screens in its authorization of the logging of large
trees up to 30” diameter at breast height (“DBH”) in violation of the original provisions of the



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Screens in the FWNF Forest Plan. Therefore, the Decision Memo and the portion of the South

Warner Project allowing the logging of trees ≥21” DBH violate NFMA and the Administrative

Procedure Act (“APA”) as well.

        4.       The procedure undertaken by the Service and the Under Secretary for Natural

Resources and Environment in approving the 2021 Eastside Screens Amendment illegally

circumvented the administrative objection process in order to avoid public objections, in

violation of NFMA. NFMA requires the Service engage in a public objections process for

proposed forest plan amendments. 36 C.F.R. § 219.52. The Forest Service attempted to

circumvent this regulatory requirement by having then-Under Secretary for Natural Resources

and Environment James Hubbard sign the Decision Notice as the responsible official, relying

upon an exemption found at 36 C.F.R. § 219.51(b). Eastside Screens Amendment DN/FONSI at

2, 11 (Jan. 2021). However, this exemption applies only where the Under Secretary was the

agency official responsible for proposing the amendment, a fact belied here by multiple Federal

Register Notices and preliminary National Environmental Policy Act (“NEPA”) documents

listing Ochoco Forest Supervisor Shane Jeffries as the original Responsible Official and noting

that the amendment would, in fact, be subject to the administrative objections process. This

textbook bait-and-switch is a blatant attempt to illegally circumvent the vitally important—now

more than ever—public input and administrative review processes outlined in 36 C.F.R. § 219,
Subpart B. As a result, the South Warner Project and its Decision Memo that rely upon the

illegally-approved Eastside Screens Amendment for the logging of trees ≥21” DBH are illegal as

well.

        5.       The South Warner Project is the first timber project approved by the Service on

the FWNF to rely upon the illegal Eastside Screens Amendment and corresponding guideline

that purports to allow for the logging of these large arboreal elders, which are in fact still

protected by the Eastside Screens mandatory restrictions. The South Warner Decision Memo

approves the commercial logging of up to 16,000 acres, which includes hundreds of very large
established trees once off-limits to these destructive forms of “management,” in addition to


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commercial and non-commercial thinning of the understory. The Decision Memo relies upon the

2021 Eastside Screens Amendment to authorize the logging of these large established trees

categorized by size as ≥21” DBH. In drier forests such as the FWNF, these large trees take over a

century to mature into the established behemoths that they have become.

       6.         In order to prevent the Forest Service from engaging in the unsustainable and

illegal logging of vitally important old and large trees on the Fremont-Winema National Forest in

violation of the Service’s legal duties under NFMA, Plaintiff seeks from this Court declaratory

and injunctive relief, and an order setting aside the Forest Service’s illegal DN/FONSI for the

Eastside Screens Amendment and the Decision Memo for the South Warner Project to prevent

such violations of law and irreparable harm from occurring.

                                              PARTIES

       7.         Plaintiff BLUE MOUNTAINS BIODIVERSITY PROJECT is a nonprofit

environmental advocacy organization dedicated to the conservation of the natural ecosystems of

the Pacific Northwest and the native flora and fauna they harbor. BMBP and its supporters

actively participate in governmental decision-making processes on public lands, including

National Forests, throughout Oregon. BMBP has offices in Fossil, Oregon and Eugene, Oregon.

       8.         The mission of BMBP is to protect and restore the biodiversity of the Blue

Mountains region of Oregon and Washington and to educate the public about threats to forest
ecosystems in eastern Oregon. In order to further its mission and protect the interests of BMBP’s

supporters in preserving the biodiversity of the Pacific Northwest forests, BMBP monitors

timber sales and other Forest Service activities in the Deschutes, Malheur, Umatilla, Wallowa-

Whitman, Ochoco, and Fremont-Winema National Forests.

       9.         BMBP’s officers, staff, and supporters regularly hike, camp, hunt, bird watch,

view wildlife, photograph scenery and wildlife, and engage in other vocational, educational,

scientific, and recreational activities on the FWNF, including the South Warner Project area and

adjacent lands.




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       10.     BMBP’s officers, staff, and supporters reside near and/or regularly visit the South

Warner Project area. BMBP’s officers, staff, and supporters derive recreational, inspirational,

religious, scientific, and aesthetic benefits from their activities on the FWNF, including in and

around the project area, and they intend to continue to use and enjoy these areas on an ongoing

and frequent basis in the near and distant future. The organization and its supporters are deeply

invested in the South Warner Project area specifically and as part of the larger ecological health

of the FWNF and the Eastside landscape. Specifically, at least one of BMBP’s supporters is an

avid hunter who uses the project area for hunting and camping. Other supporters intentionally

seek out natural areas of the forest untouched by the management practices described in the

Decision Memo. The approved commercial logging and “restoration” activities detailed in the

Decision Memo and supporting documents severely limit opportunities to partake in these

activities. These harms include the logging of large trees and adverse effects to wildlife habitat

and water quality, impacting not only wildlife and scenic values, but also potentially human

health and well-being. If the Forest Service implements the South Warner Project as described in

the Decision Memo, the logging, and especially the logging of large trees, will negatively affect

the hunting, naturalistic landscape, and other recreational activities in the area, which will cause

BMBP supporters to avoid the project area.

       11.     BMBP has an organizational interest in the proper, lawful, and scientifically
sound management of all the Eastside forests, including the FWNF. The organization’s mission

to promote the protection and restoration of Eastside forests depends on the responsible,

scientifically sound, and legally sufficient management of the FWNF. The aesthetic, recreational,

scientific, and religious interests of BMBP’s supporters have been and will be adversely affected

and irreparably injured if Defendants continue to act as alleged herein, and affirmatively

implement the decision that Plaintiff challenges. These are actual concrete injuries caused by

Defendants’ failure to comply with mandatory duties under NFMA, NEPA and the

Administrative Procedure Act (“APA”). The injuries would be redressed by the relief sought.




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       12.      BMBP has participated extensively in administrative actions to protect plaintiff’s

interests on the FWNF. BMBP actively participated in the administrative process for the South

Warner Project, including submitting substantive comments on the scoping notice on July 19,

2021. BMBP has exhausted any and all available administrative remedies. A reviewable final

agency action exists that is subject to this Court’s review under 5 U.S.C. §§ 702 & 704.

       13.      BMBP has likewise participated extensively in administrative actions to protect

plaintiff’s interests in the Eastside Screens Amendment process. BMBP submitted substantive

public comments on the Preliminary Environmental Assessment for the 2021 Eastside Screens

Amendment on October 13, 2021. Because the Forest Service illegally did not provide any other

opportunity for public participation by BMBP or any other member of the public, BMBP has

exhausted any and all administrative remedies. A reviewable final agency action exists that is

subject to this Court’s review under 5 U.S.C. §§ 702 & 704. See 36 C.F.R. §219.51(b). Because

the South Warner Project relies on the FWNF Forest Plan as amended by the 2021 Eastside

Screens Amendment, this action is ripe for review.

       14.      BMBP’s physical address is 27803 Williams Lane, Fossil, Oregon 97830.

       15.      Defendant HOMER WILKES, Under Secretary for Natural Resources and

Environment, is an official of the United States Department of Agriculture. The Under Secretary

for Natural Resources and Environment’s office is tasked with the implementation of the United
States Department of Agriculture’s legal environmental obligations. Homer Wilkes’ predecessor

in this office, James Hubbard, was the Responsible Official that signed the Eastside Screens

Amendment DN/FONSI. The DN/FONSI represents the official agency action for the Eastside

Screens Amendment challenged in this case. Defendant Wilkes is sued only in his official

capacity.

       16.      Defendant UNITED STATES DEPARTMENT OF AGRICULTURE

(“USDA”) is a federal executive agency of the United States of America. It is tasked with

overseeing and implementing programs related to the farming, ranching, and forestry industries
as well as regulating food quality, safety, and nutrition labeling. The USDA houses not only the


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office of the Under Secretary for Natural Resources and Environment, but also the United States

Forest Service. The USDA is an agency within the meaning of the APA, 5 U.S.C. § 551.

       17.      Defendant GLENN CASAMASSA is the Regional Forester for Region 6 of the

USDA and Forest Service, which covers the six national forests impacted by the Eastside

Screens Amendment, including the Fremont-Winema National Forest. Region 6 issued the

preliminary and final environmental assessments, as well as the DN/FONSI signed by the Under

Secretary for Natural Resources and Environment, associated with the Eastside Screens

Amendment. Defendant Casamassa is sued only in his official capacity.

       18.      Defendant SHANE JEFFRIES is the Forest Supervisor for the Ochoco National

Forest, and was originally listed as the Responsible Official for the Eastside Screens

Amendment. Defendant Jeffries is sued only in his official capacity.

       19.      Defendant MICHAEL RAMSEY, District Ranger for the Lakeview and Bly

Ranger Districts, Fremont-Winema National Forest, is the responsible official for the South

Warner Project, having signed the Decision Memo challenged in this case. The Decision Memo

was the Forest Service’s final agency action regarding the South Warner Project. Defendant

Ramsey is sued only in his official capacity.

       20.      Defendant UNITED STATES FOREST SERVICE is an agency of the United

States and is a division of the Department of Agriculture, and is charged with managing the
public lands and resources of the FWNF, in accordance and compliance with NEPA and NFMA

and their implementing regulations. The Forest Service is an agency within the meaning of the

APA, 5 U.S.C. § 551.

       21.      Defendants are collectively referred to as “Defendants,” “Forest Service,” or “the

Service.”

                                 JURISDICTION AND VENUE

       22.      This Court has jurisdiction over this action pursuant to 5 U.S.C. §§ 701–706

(APA) and 28 U.S.C §§ 1311 (federal question), 2201 (declaratory relief), 2202 (injunctive
relief), 2412 (costs and fees). Plaintiff has challenged final agency actions as defined by the


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APA, 5 U.S.C. § 704. Plaintiff has exhausted all required administrative remedies provided by

the Forest Service and is seeking judicial review of Forest Service final administrative actions

which were not subject to administrative review, pursuant to 36 C.F.R § 220.6(f)(6) and the

South Warner Decision Memo at 15 for the South Warner Project, and 36 C.F.R. § 219.51(b) and

the Eastside Screens Amendment DN/FONSI at 13 for the Eastside Screens Amendment.

Plaintiff thus seeks judicial review of final administrative actions of the Forest Service. See 5

U.S.C. § 704 (actions reviewable).

       23.     Venue is properly vested in this Court pursuant to 28 U.S.C. § 1391(e) because

Defendant Michael Ramsey, the Lakeview and Bly District Ranger who signed the challenged

Decision Memo, is headquartered in Lakeview, Lake County, Oregon, and the events giving rise

to the claims primarily occurred in Oregon.

       24.     This case is properly filed in Medford, Oregon and properly before the Medford

Division of this District pursuant to Local Rules 3-2 and 3-3 because District Ranger Michael

Ramsey signed the challenged South Warner Decision Memo and is responsible for the

Lakeview Ranger District found within Lake County, Oregon.

                    STATUTORY AND REGULATORY FRAMEWORK

               National Environmental Policy Act (42 U.S.C. §§ 4321–4370(h))

       25.     Congress enacted the National Environmental Policy Act in 1969, directing all
federal agencies to assess the environmental impacts of proposed actions that significantly affect

the quality of the human environment. NEPA seeks to “promote efforts which will prevent or

eliminate damage to the environment and biosphere and stimulate the health and welfare of

man.” 42 U.S.C. § 4321. NEPA obligates agencies to “make diligent efforts to involve the

public” in implementing their NEPA procedures, including making available to the public high-

quality information, including accurate scientific analyses, expert agency comments, and public

comments. 40 C.F.R. § 1506.6(a) (2020). NEPA’s public disclosure goals are twofold: (1) to

ensure that the agency has carefully and fully contemplated the environmental effects of its




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action: and (2) to ensure that the public has sufficient information to review, comment on, and

challenge (if necessary) the agency’s action. See 42 U.S.C. §§ 4321, 4332.

       26.       The Council on Environmental Quality (“CEQ”) promulgated uniform regulations

to implement NEPA that are binding on all federal agencies. Those regulations are found at 40

C.F.R. Parts 1500–1508 (2020). The Forest Service utilized CEQ regulations that were in effect

before September 14, 2020 to enact the Eastside Screens Amendment (the “2019 CEQ

regulations”). The Forest Service then developed the South Warner Project and announced the

Categorical Exclusion (“CE”) from all NEPA analysis using the CEQ regulations that were in

force from September 14, 2020 until May 20, 2022 (the “2020 CEQ regulations”). See National

Environmental Policy Act Implementing Regulations Revisions, 87 Fed. Reg. 23453 (Apr. 20,

2022) (revising certain provisions of NEPA’s implementing regulations that were in place from

2020 to 2022).

       27.       The Court may review agency actions taken pursuant to NEPA under the APA. 5

U.S.C. §§ 702, 704, 706.

       28.       NEPA requires agencies to prepare a “detailed statement” assessing the possible

environmental impacts of all “major Federal actions significantly affecting the quality of the

human environment.” 42 U.S.C. § 4332(C). This statement is known as an environmental impact

statement (“EIS”). A separate document known as an environmental assessment (“EA”) can be
prepared to aid agencies in determining whether or not a proposed activity will significantly

affect the quality of the human environment. 40 C.F.R. § 1501.5(b) (2020); 40 C.F.R. §

1508.1(h) (2020). The role of the EA is to determine whether an EIS is needed or is a finding of

no significant impact (“FONSI”) is appropriate. Id.

       29.       If an agency determines that an entire category or class of federal actions

“normally do not have a significant effect on the human environment,” the agency can exclude

that category of actions from analysis an EIS or EA. 40 C.F.R. § 1501.4 (2020); 40 C.F.R. §

1508.1(d) (2020).




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       30.     To determine the significance of a federal action, CEQ regulations require

agencies “analyze the potentially affected environment and degree of the effects of the action,”

including “short- and long-term effects,” “beneficial and adverse effects,” “[e]ffects on public

health and safety,” and “[e]ffects that would violate Federal, State, Tribal, or local law protecting

the environment.” 40 C.F.R. § 1501.3(b) (2020).

       31.     “Effects or impacts” under the 2020 CEQ regulations are defined as “changes to

the human environmental from the proposed action or alternatives that are reasonably

foreseeable and have a reasonably close causal relationship to the proposed action or

alternatives,” including “effects that are later in time or farther removed in distance from the

proposed action or alternatives.” 40 C.F.R. § 1508(g) (2020).

       32.     When a federal agency determines that a category of actions is appropriately

excluded from NEPA analysis, the agency must present the reasons why the impacts of this

category of actions normally does not have a significant effect on the environment and publish

the categories of actions excluded from NEPA analysis in their agency NEPA procedures (see 40

C.F.R. § 1507.3(e)(2)(ii) (2020)). 40 C.F.R. § 1501.4(a) (2020).

       33.     For any federal action an agency determines is covered by a categorical exclusion,

the agency must still evaluate the action for “extraordinary circumstances in which a normally

excluded action may have a significant effect,” and if it determines such an extraordinary
circumstance is present, the agency may have to prepare and EA or EIS. 40 C.F.R. §

1501.4(b)(1)-(2) (2020).

       34.     Public involvement is considered a vital part of the NEPA process, with the CEQ

regulations requiring federal agencies to “[p]rovide public notice of NEPA-related hearings,

public meetings, and other opportunities for public involvement,” such as opportunities for

comments and an objections process. 40 C.F.R. § 1506.6(b) (2020).




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                 National Forest Management Act (16 U.S.C. §§ 1600–1614)

       35.     The National Forest Management Act (“NFMA”), 16 U.S.C. §§ 1600 et seq., is

the primary statute governing the administration of national forests. Agency actions taken

pursuant to NFMA are reviewable under the APA. 5 U.S.C. §§ 702, 704, 706.

       36.     NFMA requires the Forest Service to develop and implement a land and resource

management plan for each unit of the National Forest System. 16 U.S.C. § 1604(a). Forest Plans

guide natural resource management activities forest-wide, setting standards, management area

goals and objectives, and monitoring and evaluation requirements. A Forest Plan must provide

for multiple uses for the forest, including: recreation, range, timber, watershed, and wildlife and

fish purposes. Id. § 528

       37.     Under NFMA, all permits, contracts, and other instruments for the use of National

Forest System lands “shall be consistent with the land management plans.” Id. § 1604(i).

Therefore, after a Forest Plan is developed, all subsequent agency actions impacting National

Forest System resources must comply with NFMA, regulations promulgated under NFMA’s

authority, and the applicable governing Forest Plan.

       38.     During the 1990s, the Forest Service amended the FWNF and every other forest

plan in Oregon and Washington east of the Cascade Range by adopting interim direction

commonly known as the Eastside Screens. The Screens were designed to address the rapidly
dwindling presence of large, habitat-providing and carbon-storing large trees removed from the

landscape over decades of over-logging. The Screens prohibit logging in late and old

successional (“LOS”)1 forest stands below the historical range of variability (“HRV”)2 as well as

prohibiting the logging of trees ≥21” DBH anywhere on eastern national forests.

       39.     Under NFMA, the Forest Service shall provide for public participation when

revising or amending a forest plan, which it may do “in any manner whatsoever after final

1
  Sometimes also referred to as “late and old structure,” LOS is generally synonymous with the
term “old growth.”
2
  HRV is the composition of species and structure believed to be present on the forest pre-
settlement by European/early-American colonists.


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adoption after public notice,” including making potential revisions available to the public at least

three months before final adoption and holding public meetings or comparable processes to

foster public participation in the review of such amendments. Id. §§ 1604(d)(1), 1604(f)(4).

Concurrent regulations promulgated under NFMA set out the requirements for a pre-decisional

administrative review process for plans, plan amendments, and plan revisions—referred to as an

objection process—for individuals to obtain an “independent Forest Service review and

resolution of issues before approval.” 36 C.F.R. § 219.50. Objections give interested parties not

only the right of independent Forest Service review, but also an opportunity to introduce

scientific evidence and site-specific conditions from independent surveys into the administrative

record. This is an important step for interested third parties, as it gives them the right to object

and introduce evidence not only on the Final EA, but also the Draft DN/FONSI that is typically

published in tandem with the FEA. Therefore, this objection period is vitally important as the

only opportunity third parties get to comment or object to the FEA and the DN/FONSI, and

introduce such evidence and influence the Forest Service’s final decision.

       40.     Not every plan, plan amendment, or plan revision is subject to this objection

process. 36 C.F.R. § 219.51. The regulations create exceptions to the formal objection process

for plan amendments that do not receive substantive comments from the public (id. § 219.51(a)),

plan amendments that are proposed by the Secretary of Agriculture or the Under Secretary for
Natural Resources and Environment, (id. § 219.51(b) (emphasis added)), and plan amendments

that are subject to some other administrative review process consistent with NFMA’s

requirements. Id. § 219.51(c). If such a plan amendment is approved without an opportunity for

objections, the responsible official for that project must include an explanation as to why no such

process will be held with the signed decision document. Id. § 219.51(d). Such a plan amendment

that is properly not subject to the objection process because it was proposed by the Secretary of

Agriculture or Under Secretary for Natural Resources and Environment “constitutes the final

administrative determination of the” agency. Id. § 219.51(b).




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        41.     Alternatively, for all other plans, amendments, and revisions, the responsible

official is required to disclose in the NEPA scoping process that a decision will be subject to the

objection process, “in addition to the public notice that begins the objection filing period, as

required by [36 C.F.R.] § 219.16.” 36 C.F.R. § 219.52(a). Such a public notice must be made

available to interested parties, id. § 219.52(b), and its contents must include the elements

outlined at id. § 219.52(c)(1)-(7). Only parties that have submitted substantive formal comments

during the public comment period are permitted to file an objection. Id. § 219.52(c)(4); §

219.53(a). No issue may be raised in an interested party’s objection that was not previously

raised in that party’s substantive comments, “unless the objection concerns an issue that arose

after the opportunities for formal comment.” Id. §219.53(a).

        42.     36 C.F.R. § 219.16(a)(3) specifies that a formal public notice is required “to begin

the objection period for a plan, plan amendment, or plan revision before approval.” The

objection period for plan amendments that required the preparation of an EIS runs for 60 days

after the publication of a formal public notice. Id. § 219.52(c)(6). For plan amendments that did

not require the preparation of an EIS, the objection period runs for 45 days after the publication

of the public notice. Id.

        43.     A NFMA Forest Plan amendment, such as the Eastside Screens Amendment, that

does not itself “create adverse effects of the strictly legal kind, that is, effects of a sort that
traditionally would have qualified as harm” may not present an issue ripe for judicial review

because a “[p]lan does not give anyone a legal right to cut trees, nor does it abolish anyone’s

legal authority to object to trees being cut.” Ohio Forestry Ass’n, Inc. v. Sierra Club, 232 U.S.

726, 733 (1998). Rather, individuals or groups seeking judicial review of provisions of a plan

amendment must sometimes wait until the Forest Service approves a project that relies upon that

plan to satisfy judicial ripeness concerns. Id. at 733-34. BMBP has waited, and the Forest

Service has now relied upon the illegal Eastside Screens Amendment in approving the South

Warner Project. This allows BMBP to challenge in this lawsuit the legality of both the illegal




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amendment to the FWNF Forest Plan and the South Warner Project that relies upon that illegal

plan amendment.

                     Administrative Procedure Act (5 U.S.C. §§ 701-706)

       44.     Section 702 of the APA, 5 U.S.C. §702, provides a private cause of action to any

person “suffering legal wrong because of agency action, or adversely affected or aggrieved by

agency action within the meaning of a relevant statute.”

       45.     Under section 704 of the APA, 5 U.S.C. § 704, a “final agency action” is

reviewable. A final agency action is one that marks the consummation of the agency’s decision-

making process and one by which rights or obligations have been determined or from which

legal consequences flow. Bennett v. Spear, 520 U.S. 154, 77-78 (1997).

       46.     Under section 706 of the APA, 5 U.S.C. § 706, “[t]he reviewing court shall (1)

compel agency action unlawfully withheld or unreasonably delayed; and (2) hold unlawful and

set aside agency action, findings, and conclusions found to be (A) arbitrary, capricious, an abuse

of discretion, or otherwise not in accordance with law; … [or] (D) without observance of

procedure required by law ….”

       47.     NEPA and NFMA do not contain specific judicial review provisions, and the

Forest Service’s actions governed by those statutes, such as the South Warner Project Decision

Memo and the Eastside Screens Amendment DN/FONSI, are therefore subject to judicial review
under the APA.

  ADDITIONAL FACTS GIVING RISE TO THE PLAINTIFF’S CASUE OF ACTION

                                             NFMA

       48.     In 1992, monitoring reports for national forests in eastern Oregon and Washington

expressed concern over forest conditions due to over-logging on the landscape. See U.S. Forest

Service, Environmental Assessment for the Continuation of Interim Management Direction

Establishing Riparian, Ecosystem and Wildlife Standards for Timber Sales at 9-11 (1994) (“1994

Screens EA”). These reports acknowledged that “excess timber cutting can conflict with
promoting forest health” and that “the number of trees available for nesting has been declining,”


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as have wildlife numbers. Id. After additional analysis, over 113 scientists concluded that

“eastside ecosystems are stressed and unstable” because of “management practices of this

century that have reduced diversity … and long-term productivity.” Id. at 11. One specific

problem the scientists identified was an absence of large trees and large dead trees, sometimes

called snags, that provide essential habitat for many native wildlife species, such as the pileated

woodpecker and the American marten. Id.

       49.     Because of these scientific findings, in 1994, the Regional Forester issued an

Interim Direction that established new standards for timer sales in Eastside forests, including the

FWNF. Id. at 1; U.S. Forest Service, Decision Notice for the Continuation of the Interim

Management Direction Establishing Riparian, Ecosystem and Wildlife Standards for Timber

Sales at 1 (1994) (“1994 Screens DN”). In addition to other requirements, the Eastside Screens’

interim wildlife standard prohibits logging “live trees” ≥21” DBH (the “21” Rule”) and logging

within LOS stands below HRV. 1994 Screens EA App. B at B-7. This direction is intentionally

restrictive and requires the Eastside forests to use the standards to “screen” timber sales, 1994

Screens DN at 2, “to preserve future planning options until completion of the [regional] Eastside

EIS,” which will assess “risks to species, ecological groupings of species, and habitats” and

“provide long term direction for ecosystem management” in the Eastside forests. 1994 Screens

EA at 2. In 1994 and 1995, the Regional Forester extended a revised version of the Screens, with
the 21” Rule still in place, pending completion of the regional Eastside EIS. 1994 Screens DN at

4; U.S. Forest Service, Decision Notice for the Revised Continuation of Interim Management

Direction Establishing Riparian, Ecosystem and Wildlife Standards for Timber Sales at 4 (1995).

This interim direction remained in effect as revised in 1995 until 2021, when the Eastside

Screens Amendment initially proposed by Forest Supervisor for the Ochoco National Forest

Shane Jeffries was later illegally signed by then-Under Secretary for Natural Resources and

Environment James Hubbard in an attempt to circumvent the pre-decisional administrative

review process detailed at 36 C.F.R. § 219, Subpart B.




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       50.     The Eastside Screens Amendment process began in 2020 when the Forest Service

published a “Notice to initiate a land management plan amendment and notice of availability” in

the Federal Register. 85 Fed. Reg. 48,500-01 (Aug. 11, 2020). Describing the proposed action,

the Notice explained “[t]he Forest Service is proposing to replace the 21” standard with a

guideline that emphasizes recruitment of old trees and large trees” as well as assessing an

“adaptive management component.” Id. “The Responsible Official for this amendment is Ochoco

Forest Supervisor, Shane Jeffries.” Id. The Federal Register Notice shared that the Preliminary

EA and other related documents were available for comment on the project website, with

comments required to be submitted by September 10, 2020, and also noted that “[t]he EA is

subject to Forest Service regulation 36 CFR 219, Subpart B, known as the administrative review,

or objection, process.” Id.

       51.     A subsequent Federal Register “Notice to extend the public comment period for

land management plan amendment” was published by the Forest Service on September 8, 2020,

extending the public comment period until October 13, 2020 and again noting that “[t]his EA is

subject to Forest Service regulation 36 CFR 219, Subpart B, known as the administrative review,

or objection, process. 85 Fed. Reg. 55,409 (Sept. 8, 2020). This Notice did not name a

Responsible Official, but did note that any hardcopy comments must be submitted to “Shane

Jeffries, Forest Supervisor, Ochoco National Forest.” Id.
       52.     The Preliminary EA referred to in these Federal Register Notices was published in

August 2020, and again listed Shane Jeffries, Forest Supervisor for the Ochoco National Forest

as the Responsible Official, as delegated by the Regional Forester. Forest Management Direction

for Large Diameter Trees in Eastern Oregon EA-Preliminary at 1 (2020) (“Eastside Screens

Amendment PEA”). The PEA describes the proposed change from the 21” Rule or standard to

the new guideline with adaptive management, specifying that “[t]he intent is still to maintain

and/or enhance LOS components in stands subject to timber harvest as much as possible,” but




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suggests raising the limit for what qualifies as a “large tree” for grand fir, white fir, and Douglas

fir from 21” DBH to 30” DBH.3

        53.     BMBP submitted substantive comments on the Eastside Screens Amendment

PEA on October 13, 2020, faulting the Forest Service for failing to properly scope the plan

amendment under NEPA and provide the public an opportunity to comment on the scoping

analysis, along with their failure to mention any scientific studies on the effects of climate

change on the Eastside landscape or its general lack of large trees and snags available for wildlife

habitat. BMBP Eastside Screens Amendment Comment at 35-39. The comment cites 36 C.F.R. §

219.52, which requires that the responsible official for a plan amendment give public notice if an

amendment is subject to the objection process during scoping and in the EA or EIS. Id. at 36.

BMBP’s comment also raises the issue regarding the Forest Service’s decision to replace the

existing Eastside Screens’ 21” Rule standard with a voluntary guideline that allows for the

logging of trees greater than 21” DBH. Id. at 39. Guidelines inherently provide more discretion

to the agencies implementing them, ultimately making federal agencies like the Forest Service

less accountable to the people whose forests they are required to protect and manage to provide

habitat for all native species.

        54.     Following the public comment period that ended on October 13, 2020, the Forest

Service published the final EA and DN/FONSI for the Eastside Screens Amendment on January
12, 2021. This FEA was vastly different from the PEA, both in terms of the length of analysis

and the final amendments approved. The Eastside Screens PEA is 174 pages including citations

and appendices. The FEA, which was not subject to objection after publishing, is 246 pages

including citations and appendices, representing over 70 pages of analysis—including much

more analysis on the environmental impacts to wildlife and plant species in Project area—that

BMBP did not have a chance to review and comment on before a final administrative decision

was made. Additionally, the approved amended guideline replaces section d(2) of the Screens’

3
 The final Decision Notice for the Eastside Screens Amendment applies the new 30” guideline
only to grand and white fir. Eastside Screens Amendment DN/FONSI at 4.


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interim wildlife standard with a guideline that allows for the logging of grand and white fir up to

30” DBH, another change from the PEA, which originally included Douglas fir in the large tree

guideline. This voluntary guideline gives an enormous amount of discretion to an agency—one

that has continually targeted large fir species on the Eastern landscape for overlogging for over a

century, see BMBP Eastside Screens Amendment Comment at 46—to cut larger and larger trees,

and it was approved illegally without the public input that NFMA calls for. This amendment

would allow Forest Service officials to approve the logging of large firs in forests that still lack

sufficient large trees that provide essential habitat for numerous wildlife species, and that is

exactly what occurred when the Forest Service approved the South Warner project, as evidenced

by the South Warner Project’s silvicultural prescription. Failing to give interested parties the

opportunity to comment on these changes and access independent Forest Service review is not

only contrary to the Service’s own regulations, but also arbitrary and capricious in violation of

the APA. 5 U.S.C. § 706(2)(A).

       55.     The Eastside Screens EA and DN/FONSI, published on the same day, for the first

time in, listed then-Under Secretary for Natural Resources and Environment James Hubbard as

the Responsible Official for this amendment. Eastside Screens Amendment EA at 2, 11; Eastside

Screens Amendment DN/FONSI at 2, 18. The DN/FONSI goes on to state, “[i]n accordance with

the regulation at 36 CFR 219.51(b), this plan amendment is not subject to objection
(administrative review) because it is signed by the Under Secretary for Natural Resources and

Environment. As such, this decision is the final administrative determination by the U.S.

Department of Agriculture.” Eastside Screens Amendment DN/FONSI at 13. This is a clear

abuse of the objection process exception for plan amendments proposed by the Under Secretary

found in 36 C.F.R. § 219.51(b), as not only does the regulation require that the Under Secretary

be the one that proposed the amendment as opposed to just signed it, this decision also reneges

on the variety of Federal Register notices, discussed above in ¶¶ 50-51, that clearly establish that

this amendment was subject to the objection process of 36 C.F.R. § 219, Subpart B. This bait-
and-switch is an obvious attempt to stymie public discourse and participation in the plan


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amendment process for a scientifically controversial agency decision and runs contrary to the

Forest Services’ own regulations, and therefore is arbitrary, capricious, and an abuse of agency

discretion in violation of the APA. 5 U.S.C. § 702(2)(A) & (D).

       56.     Additionally, 36 C.F.R. § 219.51(d) requires that, when a plan amendment is not

subject to the objection process, the responsible official “shall include an explanation with the

signed decision document.” The entirety of the Under Secretary’s “explanation” as to why this

amendment is not subject to the objection process is encapsulated in thirteen words: “because it

is signed by the Under Secretary for Natural Resources and Environment.” Eastside Screens

Amendment DN/FONSI at 13. This “explanation,” which is nothing more than a restatement of

the regulatory language at 36 C.F.R. §219.51(d), not only fails to explain why this adversely

impactful amendment to a long-standing forest management standard should not be subject to the

objection process, but is also an abuse of discretion as to the implementation of the Forest

Service’s NFMA objection regulations, and is therefore in violation of the APA. 5 U.S.C. §

706(2)(A) & (D).

       57.     BMBP and its members have been harmed by these violations of Forest Service

procedures required by law. By initially leading interested parties on with Federal Register

Notices that this amendment would be subject to the Service’s objection process, the Forest

Service prevented BMBP from having its concerns heard to a satisfactory extent and stopped
BMBP from introducing independent scientific findings regarding the impacts of such an

amendment on the Eastside ecosystem into the administrative record for this decision. This

includes hampering not only BMBP’s ability to comment on and object to a vastly different

FEA, but also BMBP’s ability to view, provide comments on, and object to the Draft DN/FONSI

that is usually published alongside an FEA for the objection process. Because of the Service’s

failure to follow proper administrative review procedures, BMBP did not get a chance to provide

public comments on a draft administrative decision before it was approved and was able to be

implemented on the National Forests that BMBP strives to protect.




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        58.       The Forest Service began scoping for the South Warner Project on June 28, 2021,

seeking input from the public for a project that includes approximately 69,567 acres of forest

management activities on Forest Service land on the FWNF. South Warner Scoping Letter at 1-2.

The scoping letter included notice of the potential for “commercial thinning” efforts on

approximately 16,000 acres, which would include the logging of “white fir up to 30-inches

DBH.” Id. at 2. Scoping comments were required to be filed with the agency by July 19, 2021.

Id. at 1. This scoping letter was signed by Michael Ramsey, District Ranger for the Lakeview

District of the FWNF. Id. at 3.

        59.       BMBP submitted scoping comments on the South Warner Project on July 19,

2021, raising numerous issues with the South Warner Project including the Project’s reliance on

the Eastside Screens Amendment to allow for the logging of white fir up to 30” DBH and the

proposed approval of the Project using categorical exclusion, foregoing further environmental

analysis on the first project to implement the highly controversial Eastside Screens Amendment.

BMBP South Warner Scoping Comment at 3.

        60.       The Forest Service published its Decision Memo for the South Warner Project on

December 27, 2021. South Warner Decision Memo at 15. The Decision Memo confirms that

forest management activities will indeed be spread across the 69,567 acres of the Project area,

including commercial thinning on 16,000 acres outside of inventoried roadless areas. Id. at 3-4.
The Decision Memo explains that the Service would be logging “larger [white fir] (<30”) and

other species to reduce competition around larger trees” like the “shade intolerant” ponderosa

pine. Id. at 4.

        61.       The Decision Memo also notes that the South Warner Project is “categorically

excluded from documentation” in either an EIS or EA, relying on 36 C.F.R. §§ 220.6(e)(6) &

220(e)(18). Id. at 11. District Ranger Ramsey reviewed the project and found “no extraordinary

circumstances affecting resource conditions … that warrant further analysis and documentation

in an” EIS or EA. Id. at 12; see 36 C.F.R. § 220.6.




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       62.     The South Warner Project Decision Memo “is not subject to administrative

review” under 36 C.F.R. § 219, Subpart B, and as such, represents the final administrative

determination for this Project.

       63.     The South Warner Project and its reliance on the illegally approved Eastside

Screens Amendment is legally untenable. Because the Eastside Screens amendment to the

FWNF was illegally approved, the 21” Rule still applies to forest management projects on the

FWNF. Therefore, the South Warner Project’s silvicultural prescription calling for the logging of

white fir up to 30” on the South Warner Project area is in violation of the FWNF Forest Plan, and

therefore in violation of NFMA itself. 16 U.S.C. § 1604(i). The Forest Service’s flagrant

violations of its own public input and administrative review regulations in the approval of the

Eastside Screens Amendment taint any project that relies upon it to log old and large grand and

white fir up to 30” DBH. This project should not be allowed to go forward in its current form.

                             PLAINTIFF’S CLAIM FOR RELIEF

                     (Violations of NFMA and APA by the Forest Service)

       64.     Plaintiff realleges and incorporates by reference all preceding paragraphs into

each of the counts set forth below.

                                          COUNT ONE

       65.     NFMA and the Forest Service’s implementing regulations provide for the clear
importance of public input and independent administrative review in the implementation of

forest plans, plan amendments, and plan revisions. 16 U.S.C. § 1604(d); 36 C.F.R. § 219,

Subpart B. The Service’s approval of the Eastside Screens Amendment—signed, but clearly not

proposed, by then-Under Secretary Hubbard—without providing for an objection process is a

flagrant announcement to the nation that the Forest Service is not interested public input and

independent scientific review of its actions. The Service’s violation of 36 C.F.R. § 219.51(b) by

forgoing the objection process after announcing it in observance of 36 C.F.R. § 219.52 is

arbitrary and capricious agency actions not in accordance with the law in violation of NFMA and
APA. 5 U.S.C. §§ 706(2)(A) & (D).


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                                           COUNT TWO

       66.     The Forest Service and the Under Secretary for Natural Resources and

Environment failed to provide an explanation as to why the Eastside Screens Amendment would

not be subject this amendment to the objection process, in violation of 36 C.F.R. § 219.51(d).

Any explanation as to the reasoning to not subject a Forest Plan amendment that amends a long-

standing standard across six national forests to the objection process needs to go beyond simply

repeating the regulation it is relying on. The failure to provide such an explanation is arbitrary

and capricious, not in accordance with the law, and not in observance of procedure required by

law in violation of NFMA and the APA. 5 U.S.C. §§ 706(2)(A) & (D).

                                         COUNT THREE

       67.     One of NFMA’s goals is comprehensive management of the National Forest

System. Pursuant to this goal, NFMA requires the Forest Service to make an integrated forest

management plan for each national forest. 16 U.S.C. §§ 1604(b) & (f). Any actions taken on a

forest must be consistent with this management plan. Id. § 1604(i). Forest plans may be

amended legally, id. §§ 1604(d) & (f), but this has not occurred in this instance. Because the

South Warner Project calls for the logging of trees ≥21” DBH, in violation of the FWNF as

amended by the legally valid 1995 Eastside Screens, Defendants’ approval of the South Warner

Project is arbitrary and capricious in violation of the NFMA and the APA. 5 U.S.C. § 706(2)(A).
                                      PRAYER FOR RELIEF

   A. Declare that the Forest Service’s amendment to the FWNF Forest Plan, the 2021 Eastside

       Screens Amendment, violates NFMA and is arbitrary, capricious, an abuse of discretion,

       not in accordance with the law, and/or without observance of procedure required by law

       under the APA. 5 U.S.C. § 706(2)(A) & (D);

   B. Vacate and set aside the 2021 Eastside Screens Amendment to the FWNF Forest Plan as

       an illegal agency action under the APA;




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   C. Enjoin the Forest Service from implementing the FWNF Forest Plan, as amended by the

       2021 Eastside Screens Amendment Decision Notice, until the agency has complied with

       NFMA;

   D. Declare that the Forest Service’s authorization of the South Warner Project in reliance on

       the illegal Eastside Screens Amendment violates NFMA and the unamended FWNF

       Forest Plan (which includes the 1995 Eastside Screens restrictions) and is arbitrary,

       capricious, an abuse of discretion, and/or not in accordance with law under the APA. 5

       U.S.C. § 706(A)(2);

   E. Vacate and set aside the Decision Memo for the South Warner Project as an illegal

       agency action under the APA;

   F. Enter appropriate preliminary and permanent injunctive relief to ensure that Defendants

       comply with NFMA, and specifically to ensure that Defendants and their agents take no

       further actions toward proceeding with the challenged Eastside Screens Amendment to

       the FWNF Forest Plan and South Warner Project until they have complied with NFMA;

   G. Award Plaintiffs their reasonable costs litigation expenses and attorney fees associated

       with this litigation pursuant to the Equal Access to Justice Act, 28 U.S.C. § 2412 et seq.;

       and

   H. Grant such further relief as the Court deems just and proper.


Dated this 6th day of October, 2022.

                                                            s/Tom Buchele____________
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